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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

ln re: Chapter 11

CIBER, Inc., et al. ,1 Case No. 17-10772 (BLS)
Debtors. Joint Administration Pending

Ref. Docket No. 38

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INTERIM ORDER (I) AUTHORIZING, BUT NOT DIRECTING, DEBTORS TO
(A) PAY AND HONOR PREPETITION WAGES, SALARIES, OTHER
COMPENSATION, REIMBURSABLE BUSINESS EXPENSES, AND EMPLOYEE
BENEFIT OBLIGATIONS, AND (B) MAINTAIN AND CONTINUE CERTAIN
COMPENSATION AND BENEFIT PROGRAMS POSTPETITION; AND
(II) GRANTING RELATED RELIEF
Upon the amended motion (the “l\/lotion”)Z of the above-captioned debtors and debtors-in-
possession (collectively, the “Debtors”) for entry of interim and final orders, pursuant to sections
105(a), 363(b), 507(a)(4), 507(a)(5), 541, 1107(a), and 1108 of the Bankruptcy Code, Bankruptcy
Rules 6003 and 6004, and Local Rule 9013-1(m) authorizing, but not directing, the Debtors, in
accordance With their past and current policies and practices, to: (a) honor any prepetition
obligations, and continue to honor ongoing obligations in the ordinary course of business, on
account of accrued Wages, salaries, or commissions, including vacation, severance, and sick leave
pay (the “Emolovee Compensation”); (b) honor any prepetition obligations, and continue to honor

ongoing obligations in the ordinary course of business, on account of certain employee benefit

plans, flexible Savings accounts, and retirement savings plans (the “Employee Benetits”);

 

1 The Debtors in the above-captioned chapter 1 1 cases, along with the last four digits of Debtor CIBER, Inc.’s federal
tax identification number (the other Debtors do not have EINs) are: CIBER, Inc. (6833), CIBER Intemational LLC,
and CIBER Consulting, Incorporated. The principal place of business for each Debtor is 6312 South Fiddler’s Green
Circle, Suite 600E, Greenwood Village, CO 80111.

2 Capitalized terms used in this Order but not otherwise defined herein shall have the meanings ascribed to such terms
in the Motion.

 

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(c) reimburse Employees and Independent Contractors for prepetition expenses incurred on behalf
of the Debtors in the ordinary course of business (the “Reimbursable Expenses”); (d) pay all
related prepetition payroll taxes and other deductions (the “Withholding Obligations”); (e) pay any
amounts owing on account of prepetition services performed by Independent Contractors and
Foreign Affiliate Employees (the “Independent Contractor Obligations”); (f) pay, to the extent that
any of the foregoing programs is administered, brokered, insured or paid through a third-party
administrator or provider (an “Administrator”), any prepetition claims of such Administrator in the
ordinary course of business (the “Administration Fees”, and collectively with the Employee
Compensation, the Employee Benefits, the Reimbursable Expenses, the Withholding Obligations,
and the Independent Contractor Obligations, and all costs related thereto, the “ repetition
Employee Obligations”); and (g) authorizing banks and other financial institutions (collectively,
the “M”) to honor and process check and electronic transfer requests related to the foregoing,
as more fully set forth in the Motion; and upon the First Day Declaration; and upon the record of
the hearing on this Motion; and this Court having jurisdiction over this matter pursuant to
28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the United States
District Court for the District of Delaware, dated February 29, 2012; and this Court having found
that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that
venue of this proceeding and the Motion in this District is proper pursuant to 28 U.S.C. §§ 1408
and 1409; and due and proper notice of the Motion having been given under the circumstances;
and this Court having found that the relief requested by the Motion is in the best interests of the
Debtors’ estates, their creditors, and other parties in interest; and sufficient cause appearing
therefor, it is hereby

ORDERED, ADJUDGED, AND DECREED THAT:

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1. The Motion is GRANTED on an interim basis as set forth herein.

2. Pursuant to sections 105(a), 363(b), 507(a)(4), 507(a)(5), 541, 1107(a), and 1108 of
the Bankruptcy Code and Bankruptcy Rule 6003, the Debtors are authorized, but not directed, to:
(a) pay and/or honor, in their sole discretion, the Prepetition Employee Obligations; pr_o_vi_de_d,
how, that no member of the Workforce shall be paid on account of any prepetition claim for
accrued wages, salaries, or commissions, including vacation, severance, and sick leave pay, over
the statutory cap of $12,850 provided for under sections 507(a)(4) and (5) of the Bankruptcy Code,
absent entry of the Final Order following a hearing to consider the relief requested in the Motion
on a final basis, to the extent not otherwise granted on a final basis herein (the “ inal Hearing”);
and (b) maintain and continue to the Prepetition Employee Obligations as they were in effect as of
the Petition Date and as such may be modified, amended, or supplemented from time to time in the

ordinary course; provided, however, that the statutory cap of $12,850 shall not apply to the

 

Transferred Employee Obligations and the amounts paid on account of the Transferred Employee
Obligations shall not be taken into account when calculating whether the payment of any
Prepetition Employee Obligation exceeds the statutory cap of $l2,850.

3. Nothing herein shall be deemed to authorize the payment of any amounts in
satisfaction of bonus or severance obligations to insiders that are subject to section 503(0) of the
Bankruptcy Code.

4. The Debtors are authorized, in their sole discretion, to continue their prepetition
practices with respect to the use and payment of Corporate Cards in the ordinary course of business
and to pay all prepetition Reimbursable Expenses outstanding in connection with the Corporate

Cards.

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5. The Debtors and any applicable third parties are authorized to continue to allocate
and distribute Employee Withholdings and Payroll Taxes to the appropriate taxing authorities or
third-party recipients in accordance with the Debtors’ stated policies and prepetition practices.

6. The Banks are authorized, when requested by the Debtors, to receive, process,
honor, and pay any and all checks drawn on, or electronic transfer requests from, their accounts,
whether such checks or requests are presented or submitted prior to or after the Petition Date, to the
extent such checks or requests are expressly identified by the Debtors as related directly to the
payment of Prepetition Employee Obligations and the Transferred Employee Obligations,
provided that sufficient funds are available in the applicable bank accounts to make such payments
The Debtors are further authorized to reimburse, at their sole discretion, any member of the
Workforce for any fees or expenses incurred in connection with any rejected checks as a result of
the Debtors’ bankruptcy filing.

7. The Banks may rely on the representations of the Debtors with respect to whether
any check or other transfer drawn or issued by the Debtors prior to the Petition Date should be
honored pursuant to this Order, and any such Bank shall not have any liability to any party for
relying on such representations

8. The Debtors are authorized to issue postpetition checks, or to affect postpetition
fund transfer requests, in replacement of any checks or fund transfer requests that are dishonored
as a result of the filing of the Chapter 11 Cases with respect to prepetition amounts owed in
connection with any Prepetition Employee Obligations or the Transferred Employee Obligations.

9. Subject to the applicable provisions of the Bankruptcy Code, the Debtors are
authorized to modify, change, and discontinue any of the policies, plans, programs, practices, and

procedures associated with the Workforce and/or to implement new plans, policies, practices and

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procedures related thereto in the ordinary course of business during the Chapter 11 Cases, in their
sole discretion, without the need for further Court approval.

10. The automatic stay under section 362(a) of the Bankruptcy Code is modified solely
to allow the Employees to proceed with their workers’ compensation claims in the appropriate
judicial or administrative forum and only in accordance with the Workers’ Compensation Plan;
provided, that recoveries, if any, shall be limited to the proceeds from the Workers’ Compensation
Plan.

11. The Final Hearing shall be held on i`(\Cu§ §§ , 2017 at § 09 p_f`\"\
(prevailing Eastern Time). Any objections or responses to entry of the proposed Final Order shall
be filed with the Clerk of this Court on or before 4:00 p.m. on O\@(` t \ §§ ,
2017, and served on the following parties: (a) the Debtors, 6363 South Fiddler’s Green Circle,
Suite 600E, Greenwood Village, Colorado 80111, Attn: Chief Financial Officer and General
Counsel; (b) co-counsel to the Debtors, Morrison & Foerster LLP, 250 West 55th Street, New
York, New York 10019, Attn: Brett H. Miller (brettmiller@mofo.com) and Benjamin Butterfield
(bbutterfield@mofo.com); (c) co-counsel to the Debtors, Saul Ewing LLP, 1201 North Market
Street, Suite 23 00, Wilmington, DE 19801, Attn: Mark Minuti (mminuti@saul.com) and Sharon L.
Levine (slevine@saul.com); (d) counsel to any official committee appointed in the Chapter 11
Cases; and (e) the Office of the United States Trustee for the District of Delaware.

12. All transfers made pursuant to this Order shall be subject to the terms and
conditions of any order authorizing the use of cash collateral or postpetition financing entered in
these Chapter 11 Cases.

13. Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief, nothing in this Order shall be deemed: (a) an admission regarding the validity or

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amount of any claim against the Debtors; (b) a waiver of the Debtors’ rights to subsequently
dispute any claim on any grounds; (c) a promise or requirement to pay any claim; (d) a request or
authorization to assume any agreement, contract, or lease pursuant to section 365 of the
Bankruptcy Code; (e) a waiver or limitation of the Debtors’ rights under the Bankruptcy Code or
any other applicable law; (f) to grant third-party beneficiary status or bestow any additional rights
on any third-party; or (g) be otherwise enforceable by any third-party.

14. Notwithstanding the relief granted herein or any action taken hereunder, nothing
contained in this Interim Order shall create any rights in favor of, or enhance the status of any
claim held by, any member of the Workforce, or any other person or entity.

15. The Court finds and determines that the requirements of Bankruptcy Rule 6003 are
satisfied and that the relief requested is necessary to avoid immediate and irreparable harm.

16. The notice of the relief requested in the Motion satisfies Bankruptcy Rule 6004(a)
and, pursuant to Bankruptcy Rule 6004(h), the terms and provisions of this Order shall be
immediately effective and enforceable upon its entry.

17. The Debtors are authorized to take all steps necessary or appropriate to carry out
the terms of this Order.

18. This Court shall retain jurisdiction with respect to all matters relating to the

interpretation or implementation of this Order.

Dated; _AHM`»& \\ ,2017

Wilm_lngton, Delaware

 

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